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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION


IOENGINE, LLC,
                                                           C.A. No. 6:21-cv-01296-ADA-DTG
      Plaintiff/Counterclaim Defendant,
                                                           JURY TRIAL DEMANDED
v.

ROKU, INC.,

      Defendant/Counterclaim Plaintiff.



                                JOINT MOTION REGARDING
                                CERTAIN CASE DEADLINES

       In light of the Court’s rulings during the videographic Markman hearing held on January

16, 2024, the Parties respectfully jointly request that the Court set (1) certain deadlines and limits

relating to further Daubert motions (if any), and (2) a hearing date for any such Daubert motions,

as follows:

              Event                                         Deadline/Date

              Daubert Motions or Motion to Strike (up to    February 20, 2024
              5 pages total)
              Opposition Briefs (up to 5 pages total)       February 29, 2024
              Reply Briefs (up to 2 pages total)            March 7, 2024
              Hearing on Daubert Motions                    March 14, 2024, or at the
                                                            Court’s convenience
              Jury Selection/Trial                          Week of April 8-12, 2024


       The Parties further stipulate, and jointly request that the Court order, that Daubert motions

shall be limited to expert reports and deposition testimony dated after the Court’s September 27,

2023, Order Concerning Final Pretrial Conference Motions.
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       The Parties certify that the above deadlines and limits are agreed upon and do not change

the date of any hearing, trial, or other Court date other than the added Daubert hearing listed above,

and that the Parties believe that these deadlines do not extend any deadline of a final submission

that affects the Court’s ability to hold a scheduled hearing, trial, or Court event.

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                               CERTIFICATE OF SERVICE

       I hereby certify that on January 26, 2024, the foregoing was electronically served on all

counsel of record.

                                                          /s/ Gregory T. Chuebon
                                                          Gregory T. Chuebon
